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                               UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

MATTHEW GREEN, GERALD HALL, JAMES D.                                           )
HOUSE, JOHN K. RARY, CARLTON KEITH FARR,                                       )         Case No. _____________
JAMES COLUMBIA, II, KEVIN BRYANT, THOMAS                                       )
ADAM BRYANT, STEVEN LONG, BRADLEY                                              )
ROBBINS, ANDREW HUBBARD, LARRY PATRICK,                                        )
THOMAS           BERNARD,          BRADLEY ROBBINS,                            )
GREGORY LEE MARTIN, ANTHONY WAYNE                                              )
EDMONDS, GARY RUDOLPH, RICHARD LEWIS                                           )
REECE, JR., JUSTIN DICKENS, ADAM BEN HOOPER,                                   )          CONSOLIDATED
KEVIN WINE, AND JACY BOOTH, Individually, and on                               )        COLLECTIVE ACTION
behalf of all others similarly- situated,                                      )     COMPLAINT FOR APPROVALL
                                                                               )          OF SETTLEMENT
         Plaintiffs,                                                           )
                                                                               )
v.                                                                             )
                                                                               )
FLOWERS FOODS, INC., FLOWERS BAKING CO. OF                                     )
BIRMINGHAM, LLC, FLOWERS BAKING CO. OF                                         )
GADSDEN, LLC, FLOWERS BAKING CO. OF                                            )
BARDSTOWN, LLC, FLOWERS BAKING CO. OF                                          )
DENTON, LLC, FLOWERS BAKING CO. OF NEW                                         )
ORLEANS, LLC, FLOWERS BAKING CO. OF BATON                                      )
ROUGE, LLC, FLOWERS BAKING CO. OF OPELIKA,                                     )
LLC, FLOWERS BAKING CO. OF BATESVILLE, LLC,                                    )
FLOWERS BAKING CO. OF JAMESTOWN, LLC,                                          )
FLOWERS BAKING CO. OF KNOXVILLE, LLC,                                          )
FLOWERS BAKING CO. OF MORRISTOWN, LLC,                                         )
FLOWERS BAKING CO. OF LYNCHBURG, LLC, AND                                      )
FLOWERS BAKING CO. OF LENEXA, LLC,                                             )
                                                                               )
         Defendants.                                                           )
                                                                               )
                                                                               )


         Plaintiffs file this Consolidated Collective Action Complaint for the purpose of approving

a settlement (“Settlement Agreement”) that has been reached and state as follows:1



1
 The term “Named Plaintiffs” herein refers to the specifically-named individuals set forth in the case caption above.
The term “Plaintiffs” refers to both Named Plaintiffs and all others similarly situated.
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                                PRELIMINARY STATEMENT

      1.    This Consolidated Complaint results from the consolidation for all purposes under

Federal Rule of Civil Procedure 42(a)(2) of 12 pending lawsuits (referred to herein as “Original

Lawsuits” or, each one individually, as an “Original Lawsuit”), Green v. Flowers Foods, Inc.,

et al., Case No. 17-cv-00784 pending in the Northern District of Alabama, Hall, et al. v.

Flowers Foods, Inc., et al., Case No. Case No. 17-cv-00784 pending in the Northern District of

Alabama, Farr v. Flowers Foods, Inc., et al., Case No. 3:18-cv-774 pending in the Middle

District of Alabama, Columbia, v. Flowers Foods, Inc., et al., Case No. 3:18-cv-302 pending in

the Western District of Kentucky, Kevin Bryant v. Flowers Foods, Inc., et al., Case No. 4:17-

cv-00725 pending in the Eastern District of Texas, Thomas Adam Bryant, et al. v. Flowers

Foods, Inc., et al., Case No. 3:18-cv-118 pending in the Southern District of Mississippi,

Robbins v. Flowers Foods, Inc., et al., Case No. 3:17-cv-00138 pending in the Northern

District of Mississippi, Martin, et al. v. Flowers Foods, Inc., et al., Case No. 1:18-cv-00468

pending in the Middle District of North Carolina, Long v. Flowers Foods, Inc., et al., Case No.

3:17-cv-00724 pending in the Middle District of Tennessee, Dickens, et al. v. Flowers Foods,

Inc., et al., Case No. 7:18-cv-00163 pending in the Western District of Virginia, Wine v.

Flowers Foods, Inc., et al., Case No. 6:18-cv-00066 pending in the Western District of

Virginia, and Booth. v. Flowers Foods, Inc., et al., Case No. 4:18-cv-00667 pending in the

Western District of Missouri.

      2.    The Original Lawsuits are descendants of a previous action before this Court,

Stewart, et al., v. Flowers Foods, Inc., et al., Case No. 1:15-cv-01162. The parties believe that

this Court’s familiarity with the Stewart litigation makes it the most logical forum for this

Consolidated Complaint.




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           3.      Plaintiffs are current and former “Distributors” of Flowers Baking Co. of

    Birmingham, LLC, Flowers Baking Co. of Gadsden, LLC, Flowers Baking Co. of Bardstown,

    LLC, Flowers Baking Co. of Denton, LLC, Flowers Baking Co. of New Orleans, LLC, Flowers

    Baking Co. of Baton Rouge, LLC, Flowers Baking Co. of Opelika, LLC, Flowers Baking Co.

    of Batesville, LLC, Flowers Baking Co. of Jamestown, LLC, Flowers Baking Co. of Knoxville,

    LLC, Flowers Baking Co. of Morristown, LLC, Flowers Baking Co. of Lynchburg, LLC,

    and/or Flowers Baking Co. of Lenexa, LLC (“Flowers Baking Entities” or, individually,

    “Flowers Baking Entity”). In the Original Lawsuits, Named Plaintiffs seek relief on behalf of

    the themselves and those similarly situated who were classified as independent contractor

    “Distributors” and operated under a Distributor Agreement with one of the Flowers Baking

    Entities during the Covered Period, as defined below, and to whom Defendants did not pay

    overtime for hours worked in excess of forty (40) hours per week. Named Plaintiffs allege

    violations of the Federal Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§201, et seq., and

    seek monetary relief in the form of unpaid overtime compensation, liquidated damages, and

    other relief for themselves and those similarly situated.

           4.      Named Plaintiffs bring this action on behalf of themselves and others similarly

    situated who operated as Distributors with a Flowers Baking Entity during the appropriate
                        2
    Covered Period          and who are within the putative classes sought in the Original Lawsuits,


2
    The Covered Period means the following period for each Original Lawsuit as delineated in the table below:
                 Original Lawsuit                     Beginning of Covered Period        End of Covered Period
Matthew Green v. Flowers Baking Co. of               May 11, 2014                    September 7, 2018
Birmingham, LLC, et al.
Gerald Hall, et al. v. Flowers Baking Co. of         June 5, 2014                    September 7, 2018
Gadsden, LLC, et al.
Carlton Keith Farr v. Flowers Baking Co. of          August 31, 2015                 September 7, 2018
Opelika, LLC, et al.
James Columbia, II v. Flowers Baking Co. of          May 14, 2015                    September 7, 2018
Bardstown, LLC, et al.
Thomas Bryant, et al. v. Flowers Baking Co. of New   February 23, 2015               September 7, 2018
Orleans, LLC, et al.


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 except as otherwise specified in the Settlement Agreement.          Excepting the Named Plaintiffs,

 this group is hereinafter referred to as the “FLSA Class.”

         5.      Each Named Plaintiff has provided their written consent to participate in this

 litigation as required by 29 U.S.C. § 216(b). Copies of Named Plaintiffs’ consents to join this

 action have been concurrently filed with the Court in accordance with 29 U.S.C. § 216(b).

 Named Plaintiffs and various other Plaintiffs previously filed their consents to join this action

 in the collective actions captioned: Green v. Flowers Foods, Inc., et al., Case No. 17-cv-00784

 pending in the Northern District of Alabama, Hall, et al. v. Flowers Foods, Inc., et al., Case

 No. Case No. 17-cv-00784 pending in the Northern District of Alabama, Farr, et al. v. Flowers

 Foods, Inc., Case No. 3:18-cv-774 pending in the Middle District of Alabama, Columbia v.

 Flowers Foods, Inc., et al., Case No. 3:18-cv-302 pending in the Western District of Kentucky,

 Kevin Bryant v. Flowers Foods, Inc., et al., Case No. 4:17-cv-00725 pending in the Eastern

 District of Texas, Thomas Adam Bryant, et al. v. Flowers Foods, Inc., et al., Case No. 3:18-cv-

 118 pending in the Southern District of Mississippi, Robbins v. Flowers Foods, Inc., et al.,

 Case No. 3:17-cv-00138 pending in the Northern District of Mississippi, Martin, et al. v.

 Flowers Foods, Inc., Case No. 1:18-cv-00468 pending in the Middle District of North Carolina,

 Long v. Flowers Foods, Inc., et al.., Case No. 3:17-cv-00724 pending in the Middle District of


Bradley Robbins v. Flowers Baking Co. of           July 31, 2014          September 7, 2018
Batesville, LLC, et al.
Gregory Martin, et al. v. Flowers Baking Co. of    May 31, 2015           September 7, 2018
Jamestown, LLC, et al.
Kevin Bryant v. Flowers Baking Co. of Denton,      October 9, 2014        September 7, 2018
LLC, et al.
Steven Long v. Flowers Baking Co. of Knoxville,    April 20, 2014         September 7, 2018
LLC, et al.
Justin Dickens, et al. v. Flowers Baking Co. of    April 10, 2015         September 7, 2018
Morristown, LLC, et al.
Kevin Wine v. Flowers Baking Co. of Lynchburg,     June 27, 2015          September 7, 2018
LLC, et al.
Jacy Booth v. Flowers Baking Co. of Lenexa, LLC,   August 23, 2015        September 7, 2018
et al.




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Tennessee, Dickens, et al. v. Flowers Foods, Inc., Case No. 7:18-cv-00163 pending in the

Western District of Virginia, Wine v. Flowers Foods, Inc., et al., Case No. 6:18-cv-00066

pending in the Western District of Virginia, and Booth v. Flowers Foods, Inc., et al., Case No.

4:18-cv-00667 pending in the Western District of Missouri.

      6.     In addition to the Named Plaintiffs, all members of the FLSA Class are entitled to

collectively participate in this action and the accompanying settlement by choosing to “opt in”

via a written consent to join form.

      7.     At present, Named Plaintiffs Matthew Green, Gerald Hall, James D. House, John

K. Rary, Carlton Keith Farr, James Columbia, II, Kevin Bryant, Thomas Adam Bryant, Andrew

Hubbard, Larry Patrick, Thomas Bernard, Bradley Robbins, Gregory Lee Martin, Anthony

Wayne Edmonds, Gary Rudolph, and Richard Lewis Reece, Jr., Steven Long, Justin Dickens,

Adam Ben Hooper, Kevin Wine, and Jacy Booth seek and/or are willing to serve as collective

and class representatives for these respective claims set forth herein to the extent a collective or

class representative is necessary by operation of controlling law. Plaintiffs reserve all rights to

add or change the proposed representatives as permitted by law, procedure and court rulings.

      8.     Defendants have denied, and continue to deny, all of Plaintiffs’ allegations

contained in the twelve (12) Original Lawsuits and contained within this Consolidated

Complaint.

      9.     Currently, there are legal and factual disputes in all of the pending collective

actions against Defendants.

      10.    On September 7, 2018 the parties held a mediation in Atlanta, Georgia where a

global settlement of all of the pending collective actions was reached in principle.           This




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    Agreement in principle has subsequently been memorialized in a comprehensive Settlement

    Agreement.

          11.    The Parties agreed to file this Consolidated Action for purposes of seeking Court

    approval of this settlement.

                                                   PARTIES

          12.    Plaintiffs all currently or formerly operated under a Distributor Agreement with a

    Flowers Baking Entity.

          13.    During the Covered Period,3 Named Plaintiff Matthew Green resided in Alabama.

    Named Plaintiff Green filed his consent to join on May 11, 2017.

          14.    During the Covered Period, Named Plaintiff Gerald Hall resided in Alabama.

    Named Plaintiff Hall filed his consent to join on June 5, 2017.

          15.    During the Covered Period, Named Plaintiff James House resided in Alabama.

    Named Plaintiff House filed his consent to join on June 5, 2017.

          16.    During the Covered Period, Named Plaintiff John Rary resided in Alabama.

    Named Plaintiff Rary filed his consent to join on June 5, 2017.

          17.    During the Covered Period, Named Plaintiff Carlton Keith Farr resided in

    Alabama. Named Plaintiff Farr filed his consent to join on August 31, 2018.

          18.    During the Covered Period, Named Plaintiff James Columbia, II resided in

    Kentucky. Named Plaintiff Columbia filed his consent to join on May 14, 2018.

          19.    During the Covered Period, Named Plaintiff Thomas Adam Bryant resided in

    Mississippi. Named Plaintiff Bryant filed his consent to join on February 23, 2018.




3
  “Covered Period” refers to the applicable Covered Period governing each Named Plaintiff’s claims, as outlined in
fn. 1 above.


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      20.   During the Covered Period, Named Plaintiff Andrew Hubbard resided in

Mississippi. Named Plaintiff Hubbard filed his consent to join on February 23, 2018.

      21.   During the Covered Period, Named Plaintiff Larry Patrick resided in Mississippi.

Named Plaintiff Patrick filed his consent to join on February 23, 2018.

      22.   During the Covered Period, Named Plaintiff Thomas Bernard resided in Louisiana.

Named Plaintiff Bernard filed his consent to join on February 23, 2018.

      23.   During the Covered Period, Named Plaintiff Bradley Robbins resided in

Mississippi. Named Plaintiff Robbins filed his consent to join on July 31, 2017.

      24.   During the Covered Period, Named Plaintiff Gregory Lee Martin resided in North

Carolina. Named Plaintiff Martin filed his consent to join on May 31, 2018.

      25.   During the Covered Period, Named Plaintiff Anthony Wayne Edmonds resided in

North Carolina. Named Plaintiff Edmonds filed his consent to join on May 31, 2018.

      26.   During the Covered Period, Named Plaintiff Gary Rudolph resided in North

Carolina. Named Plaintiff Rudolph filed his consent to join on May 31, 2018.

      27.   During the Covered Period, Named Plaintiff Richard Lewis Reece, Jr. resided in

North Carolina. Named Plaintiff Reece filed his consent to join on May 31, 2018.

      28.   During the Covered Period, Named Plaintiff Kevin Bryant resided in Texas.

Named Plaintiff Bryant filed his consent to join on October 9, 2017.

      29.   During the Covered Period, Named Plaintiff Steven Long resided in Tennessee.

Named Plaintiff Long filed his consent to join on April 20, 2017.

      30.   During the Covered Period, Named Plaintiff Justin Dickens resided in Virginia.

Named Plaintiff Dickens filed his consent to join on April 10, 2018.




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      31.       During the Covered Period, Named Plaintiff Adam Ben Hooper resided in

Virginia. Named Plaintiff Hooper filed his consent to join on September 6, 2018.

      32.       During the Covered Period, Named Plaintiff Kevin Wine resided in Virginia.

Named Plaintiff Wine filed his consent to join on June 27, 2018.

      33.       During the Covered Period, Named Plaintiff Jacy Booth resided in Missouri.

Named Plaintiff Booth filed his consent to join on August 23, 2018.

      34.       A list of all other members of the FLSA Class who have opted into Green/Hall to

date and the dates their respective consent to join forms were filed is attached hereto as Exhibit

A.

      35.       A list of all other members of the FLSA Class who have opted into Long to date,

and the dates their respective consents to join were filed, is attached hereto as Exhibit B.

      36.       A list of all other members of the FLSA Class who have opted into Robbins to date

and the dates their respective consent to join forms were filed is attached hereto as Exhibit C.

      37.       A list of all other members of the FLSA Class who have opted into Kevin Bryant

to date and the dates their respective consent to join forms were filed is attached hereto as

Exhibit D.

      38.       A list of all other members of the FLSA Class who have opted into Thomas Adam

Bryant to date and the dates their respective consent to join forms were filed is attached hereto

as Exhibit E.

      39.       A list of all other members of the FLSA Class who have opted into Dickens to date

and the dates their respective consent to join forms were filed is attached hereto as Exhibit F.




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      40.    A list of all other members of the FLSA Class who have opted into Columbia to

date and the dates their respective consent to join forms were filed is attached hereto as Exhibit

G.

      41.    A list of all other members of the FLSA Class who have opted into Farr to date

and the dates their respective consent to join forms were filed is attached hereto as Exhibit H.

      42.    A list of all other members of the FLSA Class who have opted into Booth to date

and the dates their respective consent to join forms were filed is attached hereto as Exhibit I.

      43.    A list of all other members of the FLSA Class who have opted into Wine to date

and the dates their respective consent to join forms were filed is attached hereto as Exhibit J.

      44.    A list of all other members of the FLSA Class who have opted into Martin to date

and the dates their respective consent to join forms were filed is attached hereto as Exhibit K.

      45.    Future opt-ins from the FLSA Class will also become parties in this Consolidated

Action.

      46.    Defendant Flowers Foods, Inc. is a Georgia corporation with its principal place of

business in Thomasville, Georgia.

      47.    Defendant Flowers Baking Co. of Knoxville, LLC is a Tennessee limited liability

company with its principal place of business in Knoxville, Tennessee.

      48.    Defendant Flowers Baking Co. of Morristown, LLC is a Tennessee limited

liability company. Until it closed operations, its principal place of business was in Morristown,

Tennessee.

      49.    Defendant Flowers Baking Co. of Birmingham, LLC is an Alabama limited

liability company with its principal place of business in Birmingham, Alabama.




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       50.    Defendant Flowers Baking Co. of Opelika, LLC is an Alabama limited liability

 company with its principal place of business in Opelika, Alabama.

       51.    Defendant Flowers Baking Co. of Batesville, LLC is an Arkansas limited liability

 company, registered in Mississippi, with its principal place of business in Batesville, Arkansas.

       52.    Defendant Flowers Baking Co. of Denton, LLC is a Texas limited liability

 company with its principal place of business in Denton, Texas.

       53.    Defendant Flowers Baking Co. of New Orleans, LLC is a Louisiana limited

 liability company with its principal place of business in New Orleans, Louisiana.

       54.    Defendant Flowers Baking Co. of Jamestown, LLC is a North Carolina limited

 liability company with its principal place of business in Jamestown, North Carolina.

       55.    Defendant Flowers Baking Co. of Lynchburg, LLC is a Virginia limited liability

 company with its principal place of business in Lynchburg, Virginia.

       56.    Defendant Flowers Baking Co. of Bardstown, LLC is a Kentucky limited liability

 company its principal place of business in Bardstown, Kentucky.

       57.    Defendant Flowers Baking Co. of Lenexa, LLC is a Kansas limited liability

 company, registered in Missouri, with its principal place of business in Lenexa, Kansas.

       58.    Defendants contract with individuals classified as Distributors to deliver fresh

 baked goods to their customers (primarily grocery stores, mass retailers, and fast food chains).

 In addition to delivering bakery products to their customers, Distributors stock products on

 store shelves, retrieve outdated product, and assemble promotional displays, among other tasks.




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                               JURISDICTION AND VENUE

       59.    Jurisdiction over the Plaintiffs’ federal claims is based upon Section 216(b) of the

 Fair Labor Standards Act of 1938, as amended (“FLSA”), 29 U.S.C. § 216 and 29 U.S.C. §§

 1331 and 1337.

       60.    The Court has personal jurisdiction over Defendants because Flowers Baking Co.

 of Batesville, LLC has conducted and continues to conduct business in this District, because

 many of the acts complained of and giving rise to the claims alleged have occurred and are

 continuing to occur in this District, and because Defendants have otherwise specifically

 consented to the personal jurisdiction of the Court for settlement purposes in the Settlement

 Agreement.

       61.    Venue is proper because Flowers Baking Co. of Batesville, LLC regularly

 conducts business in this District, because a substantial part of the events or omissions giving

 rise to the claims alleged occurred in this District, and because Defendants consent that venue

 is proper for settlement purposes.

             SUMMARY OF FACTS OF THE TWELVE ORIGINAL LAWSUITS

       62.    In each of the twelve (12) Original Lawsuits, Named Plaintiffs brought collective

 action claims against Flowers Foods and one or more of the subsidiary Defendants, pursuant to

 29 U.S.C. §216(b), on behalf of themselves and all similarly-situated individuals.

       63.    Plaintiffs alleged that Defendants’ business consists of distributing bakery and

 snack food products to retail customers and that they violated the FLSA by improperly

 misclassifying Plaintiffs as independent contractors and denying them overtime pay in violation

 of the FLSA.

       64.    Plaintiffs are distributors who deliver bakery products to various customers.




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       65.    Plaintiffs alleged that, despite classifying them as independent contractors,

 Defendants maintained control over all aspects of the distributors’ relationship with Defendants

 and the customers, including, inter alia, wholesale and retail prices for products; service and

 delivery agreements; negotiating shelf space to display products; establishing promotional

 pricing for products; the ability to change orders placed by Plaintiffs; and the right to discipline

 Plaintiffs, up to and including termination.

       66.    Defendants expressly denied and continue to deny Plaintiffs’ allegations and

 maintain that, even assuming, arguendo, Plaintiffs were misclassified as independent

 contractors, they were nevertheless exempt from the overtime requirements of the FLSA. At all

 times, there were numerous disputed legal issues regarding Plaintiffs’ eligibility to receive

 overtime compensation.

       67.    Plaintiffs further alleged that they regularly and repeatedly worked in excess of

 forty (40) hours per workweek without overtime compensation.

       68.    Defendants expressly denied and continue to deny Plaintiffs’ allegations regarding

 the number of hours distributors worked. At all times, there were disputed factual issues

 regarding the amount of overtime compensation, if any, Plaintiffs were entitled to receive.

       69.    On September 7, 2018, the Parties participated in a full-day mediation facilitated

 by Hunter Hughes, Esq., a highly-experienced and qualified mediator, during which a global

 resolution of all twelve cases was reached.

       70.    To allow for the most efficient approval and administration of this settlement, the

 twelve Original Lawsuits have been stayed to allow the Parties to move for settlement approval

 in this Consolidated Collective Action.




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                         FLSA COLLECTIVE ACTION ALLEGATIONS

          71.    The foregoing paragraphs are incorporated herein as if set forth in their entirety.

          72.    Named Plaintiffs have filed this Consolidated Complaint for purposes of issuing

    notice of the settlement to all members of the FLSA Class, and requesting Court approval of

    this global FLSA settlement, in a manner that conserves judicial resources.

          73.    For purposes of settlement only, the Parties seek certification of the following opt-

    in settlement class pursuant to Section 216(b) of the FLSA. This putative class is defined as:

                 Except as otherwise specified in the Settlement Agreement, all
                 Distributors who operated under a Distributor Agreement with a Flowers
                 Baking Entity during the appropriate Covered Period who did not
                 previously sign a new Distributor Agreement or Amendment to the
                 Distributor Agreement containing an arbitration agreement with a class
                 action waiver and who submit a Claim Form and Release to join this
                 action pursuant to 29 U.S.C. §216(b)4

          74.    Named Plaintiffs contend they and members of the FLSA Class are similarly

    situated in that they have substantially similar job requirements, pay provisions, and are subject

    to Defendants’ common practice, policy, or plan of controlling their daily job functions.

          75.    Count I of this Consolidated Complaint for alleged violations of the FLSA may be

    brought and maintained as an “opt-in” collective action pursuant to 29 U.S.C. § 216(b) because

    the claims of the Named Plaintiffs are similar to the claims of members of the FLSA Class.

    Therefore, the Named Plaintiffs are permitted to bring this action as a collective action, on

    behalf of themselves and members of the FLSA Class pursuant to the “opt-in” provision of the

    FLSA, 29 U.S.C. § 216(b).




4
  The putative class also includes the Named Plaintiffs and those opt-in Plaintiffs specified in
Section 1.6 of the Settlement Agreement. Putative class members who are also Current
Distributors must also execute an Amendment to the Distributor Agreement and the
accompanying Arbitration Agreement.


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      76.     The names and addresses of members of the FLSA Class are available from

 Defendants’ records. Collective action notices have been disseminated in the following cases:

            a) Steven Long v. Flowers Foods, Inc., Flowers Baking Co. of Morristown, LLC,

                and Flowers Baking Co. of Knoxville, LLC;

            b) Kevin Bryant v. Flowers Foods, Inc. and Flowers Baking Co. of Denton, LLC;

            c) Bradley Robbins v. Flowers Foods, Inc. and Flowers Baking Co. of Batesville,

                LLC; and

            d) Matthew Green v. Flowers Foods, Inc. and Flowers Baking Co. of Birmingham,

                LLC.

      77.     The last collective action notice was disseminated in mid-2018, and no notice has

 been sent since that date. Plaintiffs and Defendants stipulate that for purposes of effectuating

 class-wide settlement, an updated notice, informing members of the FLSA Class of the

 settlement, should be provided to the FLSA Class via both first-class mail and by posting in

 warehouse locations of the Flowers Baking Entities as soon as possible.

                                  FIRST CAUSE OF ACTION

FAILURE TO PAY OVERTIME TO THE NAMED PLAINTIFFS INDIVIDUALLY AND
       MEMBERS OF THE FLSA CLASS (FLSA, 29 U.S.C. §§ 201, et seq.)


      78.     Plaintiffs re-allege and incorporate by reference each and every allegation set forth

 in the preceding Paragraphs.

      79.     Section 207(a)(1) of the FLSA provides in pertinent part:

               Except as otherwise provided in this section, no employer shall employ
               any of his employees who in any work week is engaged in commerce or in
               the production of goods for commerce, for a work week longer than forty
               hours unless such employee receives compensation for his employment in
               excess of the hours above specified at a rate not less than one and one-half
               times the regular rate at which he is employed.



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               29 U.S.C. § 207(a)(1)

       80.    Plaintiffs have alleged that no exemptions are applicable to them, and that they

 regularly worked more than 40 hours per week but did not receive overtime pay for such hours

 in excess of 40 within weekly pay periods during all times material herein.

       81.    Plaintiffs further have alleged that Defendants acted willfully in that they

 knowingly, deliberately, and intentionally failed to pay overtime premiums to Plaintiffs and

 without a good faith basis.

       82.    Defendants expressly deny Plaintiffs’ allegations.

       83.    Therefore, the Named Plaintiffs demand they and the other members of the FLSA

 Class be paid overtime compensation as required by the FLSA for every hour of overtime

 worked in any work week during the FLSA periods for which they were not compensated, plus

 interest, damages, penalties, and attorneys’ fees as provided by law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Named Plaintiffs, on behalf of themselves and all members of the

FLSA Class, pray for relief as follows:

       A.      Designation of this action as a collective action on behalf of the FLSA Class and

 prompt issuance of notice to all members of the FLSA class, apprising them of the pendency of

 this action, and permitting them to participate in the FLSA Class Settlement by filing individual

 Consents to Join;

       B.      An Order approving the FLSA Class Settlement for fairness as set forth in the

 Settlement Agreement;

       C.      Attorneys’ fees, as also set forth in the Settlement Agreement, pursuant to 29

 U.S.C. § 216; and



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       D.     Any other and further relief the Court may deem just or equitable.

 Dated: February 1, 2019.                          Respectfully Submitted,

                                                   /s/J. Russ Bryant
                                                   Gordon E. Jackson (TN Bar No. 08323)
                                                   J. Russ Bryant (TN Bar No. 033830)
                                                   Paula R. Jackson (TN Bar No. 020149)
                                                   JACKSON, SHIELDS, YEISER & HOLT
                                                   262 German Oak Drive
                                                   Memphis, TN 38018
                                                   Telephone: (901) 754-8001
                                                   Facsimile: (901) 754-8524
                                                   gjackson@jsyc.com
                                                   rbryant@jsyc.com
                                                   pjackson@jsyc.com

                                                           &

                                                   Michael L. Weinman (Tenn. 015074)
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                                                   112 S. Liberty Street, Suite 321
                                                   P.O. Box 266
                                                   Jackson, TN 38302
                                                   (731) 423-5565
                                                   mike@weinmanthomas.com

                                                           &

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                                CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of February, 2019, a copy of the foregoing
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this filing will be made on all ECF-registered counsel by operation of the court’s electronic filing
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made via electronic mail to counsel for the Defendants below.


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